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                                      Exhibit A

                                   Proposed Order




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                   Debtors.1                          (Jointly Administered)


                        ORDER AUTHORIZING
  EXHIBIT A TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’
OBJECTION TO THE DEBTORS’ MOTION TO CONTINUE THE HEARING ON THE
 COMMITTEE’S APPLICATION TO RETAIN JEFFERIES LLC AS INVESTMENT
                  BANKER TO REMAIN UNDER SEAL


                 Upon consideration of the motion (the “Motion to Seal”)2 of the above-captioned

debtors and debtors-in-possession (collectively, the “Debtors”) for the entry of an order (this

“Order”): (a) authorizing the Debtors to maintain under seal Exhibit A to the Official Committee

of Unsecured Creditors’ Objection to the Debtors’ Motion to Continue the Hearing on the

Committee’s Application to Retain Jefferies LLC as Investment Banker (the “Presentation”); and

(b) granting related relief, all as more fully set forth in the Motion to Seal; and the United States

District Court for the District of Delaware having jurisdiction over this matter pursuant to

28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157 pursuant to the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012; and the Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and the Court having found that it may enter a final order consistent with



1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal
    place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
    Emeryville, CA 94608.
2
    Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion to Seal.



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Article III of the United States Constitution; and the Court having found that venue of this

proceeding and the Motion to Seal in this district is proper pursuant to 28 U.S.C. §§ 1408 and

1409; and the Court having found that the relief requested in the Motion to Seal is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and the Court having

found that the Debtors’ notice of the Motion to Seal and opportunity for a hearing on the Motion

to Seal were appropriate under the circumstances and no other notice need be provided; and the

Court having reviewed and considered the Motion to Seal; and the Court having determined that

the legal and factual bases set forth in the Motion to Seal establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court; and after due deliberation and

sufficient cause appearing therefor;

                 IT IS HEREBY ORDERED THAT:

                 1.          The Motion to Seal is GRANTED as set forth herein.

                 2.          The Presentation, previously filed under seal shall be maintained under seal

pursuant to Local Rule 9018-1.

                 3.          The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

                 4.          The Debtors are authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Motion to Seal.

                 5.          The Court retains jurisdiction with respect to all matters arising from or

relating to the implementation, interpretation, and enforcement of this Order.




                                                      2
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